                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                  DOCKET NO. 3:03CR70-6-MU


UNITED STATES OF AMERICA,                           )
                                                    )             FINAL ORDER
                v.                                  )     AND JUDGMENT OF FORFEITURE
                                                    )
MARIA JOSE VARGAS                                   )

        On May 11, 2005, this Court entered a preliminary order of forfeiture pursuant to 21 U.S.C.

§853(n) and Fed. R. Crim. P. 32.2(b), based upon the defendant’s plea of guilty to Count One in the

bill of indictment. In that count, defendant was charged with conspiracy to possess with intent to

distribute cocaine and marijuana in violation of 21 U.S.C. §841(a)(1) and §846.

        On July 22 and 29 and August 5, 2005, the United States published in the Mecklenburg

Times, a newspaper of general circulation, notice of this forfeiture and of the intent of the

government to dispose of the forfeited property in accordance with the law, and further notifying all

third parties of their right to petition the Court within thirty days for a hearing to adjudicate the

validity of any alleged legal interest in the property. It appears from the record that no such petitions

have been filed. Based on the affidavit submitted with the government’s initial motion for forfeiture,

the Court finds, in accordance with Rule 32.2(c)(2), that the defendant had an interest in the property

that is forfeitable under the applicable statute.

        It is therefore ORDERED:

        In accordance with Rule 32.2(c)(2), the preliminary order of forfeiture is confirmed as final.

All right, title, and interest in the following property, whether real, personal, or mixed, has therefore

been forfeited to the United States for disposition according to law: one 1999 Chevrolet Tahoe, VIN




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3GNEC18R1XG221464, seized on or about April 18, 2003, in the vicinity of 9710 Commons East

Drive, Apt. N, Charlotte, North Carolina.




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                       Signed: November 3, 2005




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